            Case 2:15-cr-00157-GJP Document 3 Filed 04/15/15 Page 1 of 2


                     IN THE UNITED STATES OF DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

               v.                                      CRIMINAL NO.         l <;"- lt;'l

MITESH PATEL

                                                                                                FH~ED
                             MOTION FOR BENCH WARRANT
                                                                                        APR 1 5 2015
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                                                                                 ~--_   ;."';r1t'+/fli&E!!\ih!   4W-Jft,1t~i.c~:;

               AND NOW, this                  day of                 , 2015, Zane David

Memeger, United States Attorney for the Eastern District of Pennsylvania, and Ashley K.

Lunkenheimer, Assistant United States Attorney move the Court for the allowance of a bench

warrant in the above-entitled case directed to the United States Marshal, Eastern District of

Pennsylvania, or any other United States Marshal or officer authorized to execute same.



                                             Respectfully submitted,

                                             ZANE DAVID MEMEGER
                                             United States Attorney



                                             A~/
                                             Assistant United States Attorney
                 Case 2:15-cr-00157-GJP Document 3 Filed 04/15/15 Page 2 of 2



.,'                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA



      UNITED STATES OF AMERICA

                     v.                                      CRIMINAL NO.       f~ -J!)'i
      MITESH PATEL
                                                                                      Fit ED
                                                                                    'APR 15 2015
                                   ORDER FOR BENCH WARRANT



                    AND NOW, this        /   ~     day of   Af't'Jl.-- , 2015, on motion of Zane
      David Memeger, United States Attorney for the Eastern District of Pennsylvania, it is

      ORDERED that a bench warrant be issued for the arrest of the defendant in the above-captioned

      case.



                                                  BY THE COURT:
